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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE

RACHEL DELOACHE WILLIAMS,                   CASE No.
an individual,
             Plaintiff,                     JURY TRIAL DEMANDED
      v.
NETFLIX, INC., a Delaware
corporation,
             Defendant.

      COMPLAINT FOR DAMAGES FOR (1) FALSE LIGHT AND (2)
                    DEFAMATION PER SE
      1.     This is an action for defamation and false light invasion of privacy
arising from knowingly false statements and attributions concerning plaintiff
Rachel DeLoache Williams (“Williams”) made by defendant Netflix, Inc.
(“Netflix”) in its series entitled Inventing Anna (“Series”) about a fraudster named
Anna Sorokin, aka Anna Delvey (“Sorokin”).
      2.     This action will show that Netflix made a deliberate decision for
dramatic purposes to show Williams doing or saying things in the Series which
portray her as a greedy, snobbish, disloyal, dishonest, cowardly, manipulative and
opportunistic person, such as making a belittling remark to Sorokin’s friend Neff
because she worked in a hotel, and also calling Neff Sorokin’s “paid bitch”;
sponging off Sorokin by accepting gifts of expensive clothes, jewelry and
accessories; sponging off Sorokin by allowing her to pay for all of their drinks,
meals, manicures and saunas; dropping Sorokin as a friend because Sorokin could
no longer pay for her; manipulating Sorokin to get her to pay for an expensive hair
styling for Williams; abandoning Sorokin in Morocco when she was alone and in
trouble; encouraging Sorokin to book a more lavish hotel suite for their Morocco
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trip; running away when confronted; lying to friends by concealing that she had
helped the police arrest Sorokin; and other contemptible conduct as set forth
herein. In reality, she never did or said those things. Thus, this action is based
firmly on statements of fact which are demonstrably false and the attribution of
statements that she never made.
        3.    Many media outlets commented on Netflix’s hatchet job. Here are a
few of those comments:
             In an article entitled “Inventing Anna has a brutal vendetta against
Rachel DeLoache Williams – is Netflix bitter she sold her story to HBO?”, the
Independent wrote, “Inventing Anna really, really wants us to hate Rachel
DeLoache Williams… Williams features as a character in Inventing Anna, a show
which seems hellbent on making her out to be the worst person in the world…”1 -
             “These events are dramatised in Inventing Anna, only they appear to
be staged with the primary purpose of making Williams look terrible. … we’ve
received the message loud and clear: Rachel is a shady, social-climbing hypocrite
who got what was coming to her.” (Id.)
             “The story inexplicably vilifies Rachel for helping to organize a sting
operation to arrest Anna when the latter refuses to return the loan... Somehow
Rachel is the villain for reporting a crime against her, while the criminal is made to
look like the victim when she finally sees some sort of repercussions for her
actions…”2




1
    https://news.yahoo.com/inventing-anna-brutal-vendetta-against-063613940.html
2
 https://www.huffpost.com/entry/the-dropout-inventing-anna-empathy-for-fake-
white-feminists_n_6217d6aee4b0f800ce1e1709?ncid=engmodushpmg00000004


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             “Rachel, the author of her own Anna Delvey story, is played by Katie
Lowes, but because the show is largely pro-Anna and anti-Rachel, this is a
thankless job, and Rachel comes off as a schemer too...”3
             “Meanwhile, Rachel is portrayed as a loathsome freeloader. Is this
character assassination an early swing at the competition?”4
             “Shonda’s most insane move, however, is treating poor Vanity Fair
photo editor Rachel DeLoache Williams like she’s the Wicked Witch of the West.
. . . Williams’ understandable, months-long begging to be paid back by her
supposedly rich friend who asked her to come on the vacation and booked the
luxury hotel (wealthy people pick up the check in New York all the time) is
mocked by Rhimes’ show like a bully.”5
             “.. a portrayal that makes Rachel out to be simultaneously vacuous
and materialistic, naive and snobby…”6
        4.    As a result of Netflix’s false portrayal of her as a vile and
contemptible person, Williams was subjected to a torrent of online abuse, negative
in-person interactions, and pejorative characterizations in podcasts, etc. that were
based on the Series, which establish that Netflix’s actions exposed her to public
contempt, ridicule, aversion or disgrace, or induced an evil opinion of her.
Examples of such abuse are: " This type of white privilege and turning yourself
into a victim is so disgusting. Glad to see that the Netflix adaption, the one that is



3
    https://www.rogerebert.com/reviews/inventing-anna-tv-review-2022
4
 https://www.thetimes.co.uk/article/theres-more-to-the-anna-delvey-i-met-than-
netflix-lets-on-gztm7nb6l
5
  https://nypost.com/2022/02/18/inventing-anna-treats-criminal-anna-delvey-like-a-
feminist-icon/
6
    https://www.vogue.com/article/inventing-anna-rachel-portrayal

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from the perspective of a journalist and includes different fact checking and
opinions, is giving an honest look into this situation and showing your
opportunistic ways. Anna deserved this, but you deserve the backlash just as
much” - “Sorry no sympathy here.. also shows you can't be trusted as a friend...
‚you betrayed her.. even thou [sic] she fitted [sic] your bills...why couldn't you
cover one bill that you helped make?" - "Anna was definitely guilty for what she
did , but out of all the characters you were the worst! Benefiting from the
expensive shits she bought you! How did you even accepted her paying for you
those luxury vacations ! And then playing the victim role!" - " Omg shut up Karen!
Gold digging mooch” - "I don't feel sorry for you. You had choices and you made
bad choices. Even if it’s not Anna Delvey, people can see through you. You are
like many ""fake friends"" out there who would leech off to someone with status
and money. …." - "Did you read anything or watch- ANNA DELVEY WAS
FOUND NOT GUILTY OF ROBBING THIS GREEDY CLOWN RACHEL" -
"Shameful you are awful so shallow" – “I just saw the Netflix show and have to
say you are a horrible human!!! You are pathetic and don’t deserve the publicity” -
"No one forced you to go to Morocco. You are a user. Can’t stand you. You are no
better than Anna" - "Stop being a cry baby. You are literally doing the same thing
Anna did. Taking advantage." Plaintiff has been the subject of thousands of
such abusive messages.
      5.     The catastrophic damage to Williams’ reputation was completely
avoidable. She does not challenge Netflix’s right to have an unpleasant character in
the Series, but if it chose to base the character on herself, and to portray the
character negatively, it should have given the character a fictious name and
changed the character’s identifying details so that no one would believe that the
character was a portrayal “of and concerning” the real Rachel Williams. Netflix
gave fictional names to many of the real life protagonists in the Sorokin saga who

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appear in the Series, but it did not afford Williams the same protection. Instead, it
used her real name and personal details (such as her employer, neighborhood and
alma mater) in the Series and cast an actress who resembled her in many ways.
Given the easy alternative of protecting her by using a fictional name, the decision
to use her real name evidences Netflix’s intent to harm her reputation, thereby
justifying the imposition of punitive damages, especially if Netflix made that
decision because Williams had sold her rights to the rival Sorokin project being
developed by HBO.
                                   SOROKIN
      6.     In February 2016, Williams was a 28 year old photo editor working
for Vanity Fair in New York when she met a Russian woman aged 25 named Anna
Sorokin. Sorokin was passing herself off as a German heiress called Anna Delvey
who had a substantial trust fund at her disposal. She led a glamorous lifestyle,
living at top hotels and attending prestigious social events while trying to start a
business involving an exclusive private club. In fact, she had little money, was
trying to defraud some banks out of millions of dollars, and was running up huge
bills to fund her extravagant lifestyle.
      7.     Williams and Sorokin became friendly and over the next few months,
they socialized from time to time. But they were not particularly close and did not
see each other for several months in late 2016 because Williams was travelling for
work and Sorokin was in Germany. This changed in February 2017, when Sorokin
arrived back in New York and checked into the chic 11 Howard hotel. She called
Williams the same day and invited her to lunch.
      8.     Over the next three months, Williams and Sorokin spent a great deal
of time together. When they went out, Williams would offer to pay for meals,
saunas, transport and other expenses, and sometimes she did pay, but Sorokin
normally picked up the check, especially if they were eating or drinking at her

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hotel where she put the charges on her room tab. Williams acquiesced because it
was Sorokin who chose to patronize these expensive restaurants and services and
because she believed Sorokin’s story that she was a wealthy heiress.
      9.     In April 2017, Sorokin told Williams that she needed to go abroad to
renew her visa and asked Williams to accompany her. Sorokin chose a five star
hotel called La Mamounia in Marrakesh, Morocco (“Hotel”). She booked a three
bedroom villa with a private pool and a dedicated butler and sent Williams an
email which appeared to show that she had prepaid the Hotel. She said her business
would pay for the trip, including their air fares. Williams gratefully accepted, but
told Sorokin that she had to travel from Morocco to France on a particular date for
work, and would therefore be leaving the Hotel before Sorokin did and paying her
own way home.
      10.    Sorokin also invited her trainer, Kacy Duke, and a man called Jesse
who is given the fictious name of Noah in the Series whom she asked to video the
trip for business purposes, and agreed to pay for their accommodation and airfares
as well. But she only decided to book the flights to Morocco on the morning of the
agreed departure date. Claiming to be caught in meetings, she asked Williams to
handle the bookings and gave her a credit card which was declined. She said it was
a temporary glitch which would be resolved shortly, but having left it till the last
minute, the trip was in jeopardy. Reluctantly, Williams offered to use her credit
card if Sorokin would reimburse her. Sorokin agreed and Williams charged all four
airfares to her card. She sent Sorokin her bank details for reimbursement purposes.
      11.    After they arrived in Marrakesh, the Hotel asked Sorokin several
times for a credit card to hold as security until she checked out but none of her
cards worked. Sorokin made various excuses. After four days of excuses but still
without a valid credit card, the Hotel became insistent. Sorokin asked Williams if
the Hotel could hold her credit card as security, promising to pay the bill before

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she checked out. Relying on that promise, Williams gave the Hotel her personal
American Express card (“Personal Amex”) on the understanding that it was only to
be held as security and would not be charged. She was later told that a charge had
been placed on her Personal Amex, but that she would get a credit for the same
amount.
      12.    That same afternoon, they toured a private museum for which they
were asked to pay $1,640. Sorokin asked if she could pay through the Hotel but the
museum refused. Williams agreed to pay, but the Hotel had physical possession of
her Personal Amex. In order to persuade the Hotel to return that card so that she
could use it to pay the museum, Williams gave the Hotel an American Express
card provided by her employer (“Business Amex”) to physically hold with her
explicit instruction that it was not to be charged.
      13.    As well as the museum tour and outbound airfares, Williams had
charged other trip-related expenses to her Personal Amex for Sorokin who made
various excuses for why she could not pay them. They included air shipment
charges for video equipment, clothes for Sorokin in Marrakesh, transportation and
various restaurant charges. The combined total, including the Hotel and the
airfares, came to around $62,000, which was more than Williams’ annual net
salary.
      14.    When she arrived in France, Williams texted Sorokin who told her
that the Hotel expenses would be charged to her cards - $16,670 was eventually
charged to the Business Amex and $36,010 to the Personal Amex. When she
learned of this, Williams became anxious, but Sorokin promised to wire her
$70,000 in a day or two. This reassured Williams but Sorokin did not keep her
promise. Over the next three months, Williams made multiple pleas to Sorokin to
reimburse her, and Sorokin made multiple promises to do so. She even provided
Williams with wire confirmations to corroborate her claims that she had wired the

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money to Williams’ account, but these confirmations were fabricated. Ultimately,
Sorokin only ever sent Williams $5,000. This caused a financial crisis for Williams
who was forced to borrow money to pay her rent and living expenses, and suffered
great stress as a result of these debts and Sorokin’s repeated failures to keep her
promises of reimbursement. Nevertheless, when Sorokin professed to be in distress
and “unable to be alone,” Williams bought her dinner and let Sorokin stay in her
apartment for the evening.
       15.   In July 2017, Sorokin was indicted in New York for not paying hotel
bills and released on bail. By that time, Williams began to suspect that Sorokin was
lying to her about the reimbursement. In early August, Williams and some other
friends met Sorokin and confronted her about her pattern of lying and failing to
reimburse Williams. Sorokin denied that she was lying and insisted that she was
still working on reimbursing Williams, but her conduct convinced Williams that
she was a con artist. Williams contacted the prosecutors and explained how she
had been ripped off by Sorokin. She later met with the prosecutors and police and
learned that they were investigating Sorokin’s other fraudulent activities such as
her attempts to borrow millions from various banks.
       16.   In August 2017, Williams borrowed money from a friend (which she
later repaid) to pay American Express for the non-hotel charges she incurred on
Sorokin’s behalf, but she disputed the Hotel charges. American Express
investigated and went through several rounds of rejecting the dispute and then
agreeing, at Williams’ urging, to reopen its investigation. Williams disclosed the
situation to her employer7 which was understanding about it, and American


7
 As a Condé Nast employee, Williams was responsible for any personal charges
made to the Business Amex. She marked the Hotel charge “personal” on an
expense report she submitted to her employer, indicating that it was not her
employer’s responsibility.

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Express did agree to remove the $16,670 from her Business Amex. However, the
$36,010 charge remained on her Personal Amex until a few weeks after the
criminal trial ended in April 2019, nearly two years after the trip to Morocco, when
American Express unexpectedly agreed to remove it. Until then, it had represented
a significant and worrying potential liability for her.
      17.    On September 5, 2017, Sorokin failed to appear in court in New York
and a bench warrant was issued for her arrest. That same evening, Williams was
contacted by a prosecutor and police detective who requested her assistance in
their effort to locate Sorokin. She was asked to keep matters pertaining to the
ongoing investigation confidential. Williams agreed and over the month that
followed she used text messages and social media posts to help law enforcement
determine Sorokin’s whereabouts, in Malibu, CA. In early October 2017, while in
Los Angeles for work, Williams contacted Sorokin and, at the police detective’s
urging, arranged to meet her for lunch. The Los Angeles police were waiting for
Sorokin who was arrested and flown back to New York. At no time did Williams
intentionally conceal her role in Sorokin’s arrest from their friends.
      18.    In April 2018, Williams wrote an article for Vanity Fair about her
experiences with Sorokin (the “Vanity Fair Article”). In the months that followed,
while still in debt, more than a year before the relief afforded her by American
Express, Williams signed a deal to write a book entitled “My Friend Anna” (the
“Book”). She concurrently sold an option to purchase the rights to the Vanity Fair
Article and the Book (not yet written) to HBO, which ultimately decided not to
make a program about Sorokin and therefore did not exercise the option. Williams
published the Book in July 2019, after losing her job in a corporate restructuring
unrelated to these events.
      19.    In May 2018, an article by Jessica Pressler entitled "How Anna Delvey
Tricked New York's Party People" was published in New York Magazine

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(“Pressler Article”). In or about June 2018, Netflix contacted Pressler and acquired
the rights to the Pressler Article and Pressler’s services as a producer on the Series.
Netflix also bought Sorokin’s life story rights for $320,000, part of which was paid
to Todd Spodek, her defense lawyer, to cover his fees. Netflix tried additionally to
purchase the rights held by Williams but was unsuccessful since they had already
been optioned by HBO.
      20.    In April 2019, Sorokin stood trial on several counts of actual or
attempted grand larceny and other offences, including one count of grand larceny
against Williams, who testified at the trial. The other counts included multiple
instances of check kiting, not paying her hotel bills, and obtaining (or trying to
obtain) money by misrepresenting herself as an heiress and submitting forged
documents purporting to corroborate this.
      21.    Netflix had a strong presence at the trial. Its agents and representatives
attended the trial, communicated regularly with Todd Spodek and provided her
with a celebrity stylist and fashionable clothes to wear at the trial. Ultimately, the
jury convicted her on eight counts but acquitted her of larceny against Williams
and another victim. She was sentenced to 4-12 years in prison and was released
after serving over 3 years of her sentence. Soon after her release, she was taken
into custody by U.S. Immigration and Customs Enforcement where she remains
presently while attempting to fight deportation.
                                  THE SERIES
      22.    Netflix gave some characters in the Series their real names, but they
gave fictitious names to others, such as Sorokin’s business lawyer, her boyfriend,
and the wealthy socialite and her fashion designer acolyte. They also gave a
fictitious name (Vivian Kent) to the journalist character who closely resembles
Pressler, even though her character is portrayed positively in the Series.



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      23.    Williams’ character is the only one in the Series who is given a real
person’s full name, and who has the same employer, alma mater and home
neighborhood as the real person. At the beginning, the Series (at 2:30) features
photographs of Katie Lowes, the actress who plays Williams in the Series, under a
fake Instagram account entitled “realrachelwilliams.” At the end, it shows a
photograph of the real Rachel Williams under the same fake Instagram account
with text stating that the Book was a success, and next to a photograph of Katie
Lowes and the actress who plays Sorokin (Episode 9, 1:17:34-46 – see Exhibit 1),
thereby blurring the boundaries between fact and fiction, and encouraging viewers
to believe that the Series depicts the real Rachel Williams. Moreover, Katie Lowes
is exactly the same height as Williams (5’4”), has the same hair color, is the same
race, and is roughly the same age. Netflix’s decision to use Williams’ real name,
photograph and biographical details, and to cast this actress to play her,
evidences its intent to present Williams’ character in the Series as an accurate
portrayal of the real Williams. It could easily have created a different character
with a fictional name to be Sorokin’s friend/victim but it chose not to do so,
presumably because it believed that portraying the real Williams as a loathsome
person made for a more entertaining program.
      24.    A message was shown at the beginning of every episode stating, with
minor variations, “This (whole) story is completely true, except for all the parts
that are total bullshit/is totally made up.” This confusing message does nothing to
protect people such as Williams whose real name and biographical information are
used, and who are falsely portrayed as a despicable person. Netflix’s negative
portrayal of Williams resulted in a tidal wave of vitriolic messages on the internet
and social media from thousands of people attacking her on the false assumption
that she acted in real life in the way that her character acted in the Series, as
evidenced by the sample of abusive messages in Paragraph 4 above.

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      25.    All nine episodes of the Series were released simultaneously on
February 11, 2022. The Series was watched for nearly 6.6 billion minutes over the
first 17 days of its release and topped the United States television Nielsen’s
streaming rankings for the first three weeks after its release. The Series has been
nominated for 3 awards at the 74th Annual Primetime Emmy Awards, including
Outstanding Limited or Anthology Series.
      26.    This lawsuit is simple in its factual and legal predicates. Netflix
falsely portrayed events involving Williams or attributed statements to her in the
Series which make her appear to be a vile and contemptible person. This
devastating series of falsehoods undermined and degraded her character before an
audience of many millions. Netflix made these statements with knowledge of
falsity and reckless disregard for the truth. Williams brings this suit to vindicate
herself and seek redress for the damage to her good name.
                          JURISDICTION AND VENUE
      27.    At all material times, Williams is and was a citizen and resident of the
State of New York.
      28.    Defendant Netflix, Inc. is a corporation organized and existing under
the laws of the State of Delaware and has its principal place of business in
California. It is a media giant whose programming is available world-wide with 74
million subscribers in the USA and 220 million worldwide and total revenues of
almost $30 billion in 2021.
      29.    This Court has diversity of citizenship subject matter jurisdiction
under 28 U.S.C. § 1332. There is complete diversity among the parties, and the
amount in controversy exceeds $75,000.
      30.    Venue is proper in this District pursuant to 28 U.S.C. § 1391 (b)(1)
and (c)(2) because Netflix was incorporated in Delaware and is therefore subject to



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the court’s personal jurisdiction with respect to this action pursuant to 28 U.S.C. §
1332 (c)(1).
                       THE DEFAMATORY STATEMENTS
 STATEMENTS IN WHICH WILLIAMS IS PORTAYED AS A FREELOADER
                        AND/OR A FALSE FRIEND8
1st Set Of Defamatory Statements - Episode 2, 14:15-16:059
        31.    “NEFF      I went to court. Anna's not taking a plea. She's going to
trial, which means she'll be in Rikers for, like, months.
        RACHEL      Uh-huh.
        NEFF        I thought we should work out some kind of schedule so she has
one of us visiting her at least once a week.
        RACHEL      What?
        NEFF        I went online. There's a list of stuff we can bring inmates.
Magazines and stuff.
        RACHEL      Are you... Wait... You're kidding, right?
        NEFF        Why would I be kidding? It's prison. Our friend is in prison. We
can't just leave her in there. She needs people.
        RACHEL      I'm not visiting Anna in prison. I’m not required to visit that
person in prison.
        NEFF        That person? She was your best friend. Oh. Her dad cuts her off
and now she can't pay your way, fund your social life and clothes, so you drop
her?
        RACHEL      Anna did not ever pay my way.



8
  These headings are for organizational purposes and only describe the subject
statements in general terms.
9
 The times indicating the scenes where defamatory statements appear in an
episode are approximate.

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        NEFF         Anna paid for those shoes and that jacket. I was there when she
bought those earrings. The sweater. And I know that bag! She paid for everything
you have on. Now First National Bank of Delvey is closed and you’re dumping her.
You're a user.
        RACHEL       If anyone is the user, it's you. I mean, we were friends, you...
You were her paid bitch.
        NEFF         Okay, what?
        RACHEL       I mean, yeah, she may have bought some of my clothes, but
you? I mean, you let her buy you! She bought your time, she bought your...
        NEFF         Say someone bought me again. Say it now. Come on. Try me.
Step up here and discuss the purchase of this Black woman because I am dying to
correct your face! Come on! [Rachel gasps and runs away] Yeah, you'd better
run!”
        32.    In this scene,
               (a)   Sorokin’s friend Neff Davis states or implies that Williams used
to be Sorokin’s best friend, but Williams dropped her as a friend because she was
jailed and could not pay for Williams’ social life and clothes;
               (b) Neff further states or implies that Sorokin paid for the shoes,
jacket, earrings, and sweater that Williams was wearing, for the bag she was
carrying, and “for everything you have on.” In the scene, Williams does not deny
these charges, which is tantamount to an admission that they are true, and admits
that Sorokin “bought some of my clothes”;
               (c)   Williams grossly insults Neff by accusing her of being
Sorokin’s “paid bitch” and runs away when Neff reacts angrily.
        33.    The statements of fact and the statements attributed to Williams in this
scene are false. The true facts are as follows:



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             (a)    Williams was friends with Sorokin because she liked her, not
because Sorokin would pick up the tab, and she did not drop Sorokin as a friend
because Sorokin was no longer able to pay for her social life and clothes, but rather
because she discovered that Sorokin (i) had made the fraudulent statements and
promises detailed above which induced her to incur liabilities of around $62,000
on Sorokin’s behalf, (ii) had made numerous promises to reimburse her
approximately $62,000 (and sent her fabricated wire confirmations) but only
reimbursed her $5,000, and (iii) was a liar and a con artist.
             (b)    Sorokin never bought clothes, shoes, earrings, or a bag as gifts
for Williams, who never wore Sorokin’s clothing or accessories and never told
Neff that Sorokin had bought her clothes. 10
             (c)    Williams never accused Neff of being Sorokin’s “paid bitch,”
has never used such foul and insulting words to anyone as an adult, and has never
run away from Neff because she was afraid of her.
      34.    The statements and attributions in this scene are defamatory because
they falsely portray Williams as a freeloader who allowed Sorokin to pay for her
clothes and accessories; a user and an opportunist who was only friendly with
Sorkin because she paid for everything but dropped her when she was not able to
pay; someone who uses grossly insulting words which may be racist; and a coward
who ran away from a confrontation. They should also be read in the context of the
title of the episode in which this scene appears, namely, “The Devil Wore Anna,”


10
  The only exceptions to this were that Sorokin gave Williams one pair of yoga
pants because they did not fit her, and one pair of shoes with black bottoms
because she did not like them, which Williams accepted out of politeness but never
wore and did not keep. Sorokin also “gave” Williams some dresses in Morocco,
but since Williams paid for them and was not reimbursed, she did not consider
them gifts, and in any event, she did not keep them or wear them. Williams
testified to these facts at trial – most of these details are in the Transcripts.

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thereby implying that Williams is the Devil, and in the context of the other
defamatory statements and false attributions alleged herein whose cumulative
effect is to increase their defamatory meaning. These statements and attributions
are defamatory per se because their import is apparent from the face of the Series
without resort to any other source.
2nd Set Of Defamatory Statements - Episode 2, 29:32-30:00
      35.    “NEFF (to KACY) [Rachel] won't visit Anna. You know Anna. She is
not ready for the real world. She is going to get upset about the service or be
herself to the wrong chick and end up with a beatdown. We cannot leave her alone
in there. She needs to look forward to something. And Rachel... She acts like she
barely knew Anna all of a sudden. Like Anna is some stranger. As if she's new to
the situation. She literally is walking in Anna's shoes as we speak. Red bottoms.
Spring collection. I wish I had hit her. My fist in Becky's face...”
      36.    In this scene, Neff states or implies that despite Sorokin’s generosity
to Williams, Williams dropped Sorokin as a friend because she is in jail.
      37.    This is a false statement of fact. The true facts are that Sorokin never
bought shoes for Williams, nor did Williams ever wear Sorokin’s shoes, and that
Williams stopped being friends with Sorokin for the good reasons set forth in
¶34(b) above, rather than because Sorokin was in jail.
      38.    The statements in this scene are defamatory because Williams is
falsely portrayed as a disloyal and opportunistic friend who wore expensive
designer shoes (“Red bottoms. Spring collection”) that Sorokin had given her, but
then dropped her. They should be read in the context of the other defamatory
statements and false attributions, and of Neff’s pejorative description of Williams
in this scene as a “Becky,” which is a derogatory epithet used to refer to a white




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woman who is ignorant of both her privilege and her prejudice.11 Neff also calls
her Becky in Episode 9 at 22:15. When Williams objects, Neff calls her a “Karen”
which, according to Wikipedia, is “a pejorative term for a white woman perceived
as entitled or demanding beyond the scope of what is normal. The term is often
portrayed in memes depicting white women who use their white privilege to
demand their own way.” It has a similar connotation to “Becky” but is associated
with older women. These statements are defamatory per se because their import is
apparent from the face of the Series without resort to any other source.
3rd Set Of Defamatory Statements - Episode 5, 33:40-34:15
        39.    “VIVIAN      How did Rachel know Anna?
        NEFF         I don't know. She was already around by the time Anna moved
into the hotel. They weren't like old friends or anything, but… Rachel was always
there when stuff was fun. Kind of like… She was there for the Instagram moments.
As long as there was a good time.
        VIVIAN       So you don't think it was a real friendship?
        NEFF         Not like me and Anna. Rachel… Took and took and took. Never
paid Anna back. Everything she wore was Anna's. I think she was trying to be
Anna.”
        40.    In this scene, Neff states or implies that Williams “took and took and
took” from Sorokin who provided Williams with everything she was wearing but
Williams never paid her back, and dropped her as a friend when the “Instagram
moments” were over.
        41.    These are false statements of fact. The true facts are that Sorokin
never bought items or clothing for Williams. Williams never borrowed money or
valuable possessions from Sorokin, and was never in a position where she was


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     https://www.merriam-webster.com/words-at-play/words-were-watching-becky

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under any obligation to pay Sorokin back for anything. Further, Williams stopped
being friends with Sorokin for the good reasons set forth in ¶34(b) above, rather
than because Sorokin was in jail.
      42.    The statements in this scene are defamatory because Williams is
falsely portrayed as a sponger, a freeloader and a disloyal friend. They should also
be read in the context of the other defamatory statements and false attributions and
the unpleasant and false accusation in this scene that Williams “was trying to be
Anna,” whose cumulative effect is to increase their defamatory meaning. These
statements are defamatory per se because their import is apparent from the face of
the Series without resort to any other source.
4th Set Of Defamatory Statements - Episode 5, 34:50-35:07
      43.    “ANNA (in hair salon, shows off her new hair style) Ta-da!
      RACHEL        Oh, my God.
      NEFF          Damn.
      RACHEL        I could never get my hair to look that good.
      ANNA          Do hers too. Put it on my bill.
      RACHEL        Oh, my God, really?
      ANNA          Mmm-hmm.(Anna and Rachel giggle - Neff scoffs).”
      44.    This scene shows or implies that Williams was angling to get Sorokin
to pay for an expensive hair styling for herself, and succeeded in doing so. This is
false. Williams never tried to get Sorokin to pay for an expensive hair stylist for
her, and Sorokin never paid for her hair. This is also a false attribution as Williams
never made the statements in question in such a context.
      45.    The statements and attributions in this scene are defamatory because
Williams is falsely portrayed as a manipulative opportunist and freeloader. They
should also be read in the context of the other defamatory statements and false
attributions whose cumulative effect is to increase their defamatory meaning.

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These statements and attributions are defamatory per se because their import is
apparent from the face of the Series without resort to any other source.
5th Set Of Defamatory Statements - Episode 6, 05:19-5:33, and 55:35-40
      46.    “RACHEL So the suite could fit three of us. Two in the master, one
on the couch, but it might be kind of tight, right? It might just be more ideal to get
two adjoining suites, then everyone has their space. We should book it today.
      ANNA          I don’t have time today.
      RACHEL        I could book it for us.”
      47.    This scene (which is shown twice) shows or implies that Williams
was trying to persuade Sorokin to book a larger suite at the Hotel, and when
Sorokin demurs, she kept on the pressure by volunteering to book the upgrade
herself.
      48.    The statements and attributions in this scene are false because Sorokin
made the arrangements with the Hotel herself, and Williams did not make any
suggestions to her about the accommodation there. This is also a false attribution
as Williams never made the statements in question in such a context.
      49.    The statements and attributions in this scene are defamatory because
Williams is falsely portrayed as an opportunist and a freeloader. They should also
be read in the context of the other defamatory statements and false attributions
whose cumulative effect is to increase their defamatory meaning. These statements
and attributions are defamatory per se because their import is apparent from the
face of the Series without resort to any other source.
6th Set Of Defamatory Statements - Episode 6, 12:44-13:58 et al.
      50.    These scenes show Williams joining Sorokin for a massage and tennis
lessons at the Hotel, and pressuring Sorokin to “treat” their group with a private
tour of the private museum and garden known as the Majorelle Gardens.



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      51.      These scenes show or imply that Williams believed that she was
getting a massage and tennis lessons at Sorokin’s expense, and that she was trying
to persuade Sorokin to incur the expense of a private tour of the Majorelle
Gardens, and when Sorokin demurred, she kept on the pressure.
      52.      These are false statements of fact and/or false attributions which
indicate negative personal traits or attitudes that Williams does not hold. The true
facts are they never got massages and Sorokin took tennis lessons by herself -
Williams did not participate or attend. The tour of the Majorelle Gardens
originated from and was booked by Sorokin.
      53.      The statements in these scenes are defamatory because Williams is
falsely portrayed as an opportunist and a freeloader. They should also be read in
the context of the other defamatory statements and false attributions whose
cumulative effect is to increase their defamatory meaning,. These statements and
attributions are defamatory per se because their import is apparent from the face of
the Series without resort to any other source.
7th Set Of Defamatory Statements - Episode 9, 40:23-41:08
      54.      “TODD SPODEK And when you became friends with Anna, did you
ever pay for a drink?
      RACHEL                She wouldn’t let me.
      SPODEK                Answer the question.
      WILLIAMS              Not that I recall.
      SPODEK                Any of the dozens of dinners at Le Coucou and other fine
dining establishments?
      WILLIAMS              Not that I recall.
      SPODEK:               Spa treatments? Facials? Infrared saunas? Massages,
nail salons?
      WILLIAMS:             No, Anna was very generous.”

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      55.    This scene is from Williams’ cross-examination at Sorokin’s trial by
Sorokin’s defense counsel, Todd Spodek. The cumulative effect of his questions
and Williams’ responses was to state or imply that Williams was a shameless
freeloader who allowed Sorokin to pay for all of the drinks, expensive dinners, spa
treatments, facials, infrared saunas, massages, and nail salons that they enjoyed
together.
      56.    The statements and attributions in this scene are false in the following
respects, all of which is reflected in the court transcripts of Sorokin’s trial on April
17 and 18, 2019 (“Transcripts”) :
             (a) Williams did pay for some drinks; in particular, but without
limitation, when they first started seeing each other, they split the cost of drinks
and dinners; Williams bought dinner for Sorokin in New York after the Morocco
trip; on two or more occasions, Williams went to a bar with Sorokin and some
others where Sorokin offered to buy drinks for everyone, but when the bill came,
she did not have a credit card and Williams ended up paying for the bill, one of
which was more than $1,000;
             (b) Williams and Sorkin had approximately 10 sessions together in an
infrared sauna, and they paid for 5 sessions each;
             (c) Sorokin only paid for one spa treatment for Williams, which
consisted of a facial and a massage, at the Greenwich hotel where Sorokin was
staying; Sorokin never paid for a manicure for Williams;
             (d) at the beginning of their relationship, they would share the cost of
eating out, and Williams paid for some of their dinners at La Coucou; and
             (e) Williams never made the statements attributed to her.
      57.    The statements and attributions in this scene are defamatory because
Williams is falsely portrayed as an opportunist and a freeloader. They should also
be read in the context of the other defamatory statements and false attributions

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whose cumulative effect is to increase their defamatory meaning. These statements
and attributions are defamatory per se because their import is apparent from the
face of the Series without resort to any other source.
         STATEMENT IN WHICH WILLIAMS IS PORTAYED AS A SNOB
8th Set Of Defamatory Statements - Episode 5, 33:34-33:44
         58.    “ANNA: Hi. You made it.
         RACHEL:      Only just. My boss was such a bitch today. I had to walk eight
blocks in heels. Can you even... (Rachel sighs)
         ANNA:        Oh. Rachel, you know my friend Neff. Neff, Rachel works at
Vanity Fair.12 Her boss is a monster. Some bitter 46-year-old.
         RACHEL:      So bitter.
         NEFF:        Horrible bosses are the worst.
         RACHEL:      Totally. She's jealous. Like, she knows I'll be her boss one day
soon…….
         RACHEL       (judgmental tone) You work at the hotel?
         NEFF         While I raise money for my film.
         RACHEL       (smiles dismissively, nodding) Sure.
         NEFF         (looks offended).”
         59.    This scene shows or implies that Williams belittled Neff for working
in a hotel, and derided her ambition to make a film. Williams’ language and
gestures are subtle, but as evidenced by the fact that Neff is clearly offended, they
are unmistakable and constitute a snobbish put down of someone who is in a less
prestigious position. It also portrays Williams as spoiled, whiny and judgmental,
complaining about having to “walk eight blocks in heels” and describing her boss
as “bitter” and “jealous.”


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     The scene identifies Williams’ employer as her employer in real life.

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      60.    These statements constitute false statements of fact and false
attributions because Williams never acted or spoke in such a way to Neff, or to
anyone else as an adult, nor did she make the other statements attributed to her in
this scene, such as the one denigrating her boss.
      61.    The statements and attributions in this scene are defamatory because
Williams is falsely portrayed as an entitled, status-conscious, snob who is mean to
a Black woman because she works in a hotel (in short, a Becky) and as someone
who is spoiled, whiny and judgmental. These are negative personal traits or
attitudes that Williams does not hold. They should also be read in the context of
the other defamatory statements and false attributions whose cumulative effect is to
increase their defamatory meaning. These statements and attributions are
defamatory per se because their import is apparent from the face of the Series
without resort to any other source.
 STATEMENTS IN WHICH WILLIAMS IS PORTRAYED AS ABANDONING
                            SOROKIN IN MOROCCO
9th Set Of Defamatory Statements - Episode 6, 46:05-51:05
      62.    After several scenes about the problems with the credit cards at the
Hotel and the private museum tour, there is a long scene in which Noah is shown
meeting Williams and suggesting to her that they leave immediately because of the
“bad situation.” At first, Williams says that the problems are over and suggests that
they stay but Noah persists, and she gives in. She finds Anna who is alone in her
room, drinking heavily and depressed. Williams tells her that they are leaving,
making a bogus excuse. Sorokin begs her not to leave her, but Williams leaves
anyway. She and Noah pack and leave the Hotel immediately, leaving Sorokin
alone with a hotel guard stationed outside her room.
      63.    This scene states or implies that Williams abandoned Sorokin when
Sorokin was alone, depressed and in trouble in Morocco.

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      64.    These are false statements of fact. The true facts are that Williams had
told Sorokin back in New York before they left that she would be leaving Morocco
on a specific day (May 19) to travel to France for a work assignment. She did not
“abandon” Sorokin. The problems with the credit cards at the Hotel and the private
museum tour occurred on May 18, the day before she left. Williams stayed at the
Hotel on May 18 and had dinner with Sorokin. When she left the next morning as
previously arranged, Sorokin was still in the luxurious private villa at the Hotel and
was accompanied by Jesse (the real person identified in the Series as Noah) who
stayed with Sorokin until she checked out of the Hotel, and then accompanied her
to another luxury hotel in Morocco where they both stayed for a few more days.
When Williams left on May 19, she knew that Sorokin was having financial
difficulties, but Sorokin had said that she would be receiving substantial funds
soon. It is therefore absolutely false to suggest that Williams left Marrakesh when
Sorokin was alone, depressed and in trouble.
      65.    The statements in these scenes are defamatory because Williams is
falsely portrayed as a fair weather friend who abandoned Sorokin when she was
alone, depressed and in trouble in Morocco, and needed help and support. These
are negative personal traits or attitudes that Williams does not hold. They should
also be read in the context of the other defamatory statements and false attributions
whose cumulative effect is to increase their defamatory meaning. These statements
are defamatory per se because their import is apparent from the face of the Series
without resort to any other source.
10th Set Of Defamatory Statements - Episode 6, 54:25-54:40.
      66.    “NEFF: Please, Rachel abandoned Anna. Kicked her when she was
down, and left her alone in some foreign country. Rachel's happy to call herself
Anna's friend when it meant free shit, trips to Morocco, but as soon as times got
tough... Some friend.”

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      67.    In this scene, Neff states or implies that Williams abandoned Sorokin
when Sorokin was alone and having a tough time in Morocco.
      68.    This scene shows Williams abandoning Sorokin when she was alone,
depressed and in serious trouble in Morocco. This are false statements of fact
and/or false attributions which indicate negative personal traits or attitudes that
Williams does not hold. The true facts are set forth above.
      69.    Also in this scene, Neff states or implies that Williams terminated her
friendship with Sorokin in Morocco because Sorokin was having problems. This is
a false statement of fact. Williams did not stop being friends with Sorokin because
Sorokin was having problems in Morocco, but rather because she subsequently
discovered on her return to New York that Sorokin was a liar and a con artist
whose statements and promises had induced Williams to incur liabilities of around
$62,000 on Sorokin’s behalf were false, and who only reimbursed her $5,000
despite numerous promises to reimburse her $70,000 to account for the full debt
and any late fees incurred.
      70.    These statements are defamatory because Williams is falsely
portrayed as a freeloader and a disloyal, fair weather friend who abandoned
Sorokin when she was alone and in trouble in a North African country and needed
help and support. These are negative personal traits or attitudes that Williams does
not hold. They should also be read in the context of the other defamatory
statements and false attributions whose cumulative effect is to increase their
defamatory meaning. These statements are defamatory per se because their import
is apparent from the face of the Series without resort to any other source.
   STATEMENTS IN WHICH WILLIAMS IS PORTAYED AS DECEIVING
 FRIENDS ABOUT HER ROLE IN THE ARREST OR BENEFITING FROM IT
11th Set Of Defamatory Statements - Episode 1, 03:42-3:52.
      71.    “KACY (into phone) Are you reading it? That girl’s back in New York.

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       RACHEL                 I can’t believe it. How do you think they caught her?”
       72.       This brief scene, which appears early in Episode 1, shows Williams
pretending to be surprised by the news that Sorokin had been arrested (in Los
Angeles) and was back in New York, and wondering how she had been caught.
Episode 7 reveals that Williams had in fact been working with law enforcement
and had tricked Anna into meeting her for lunch in Los Angeles so that the police
could arrest her. Thus, Williams lied by omission to Kacy when she feigned
ignorance in their conversation on that subject.
       73.       This is a false statement of fact and a false attribution. The true facts
are that from September 13, 2017 (weeks prior to Sorokin’s arrest) to April 10,
2018 (when she gave Kacy advance notice that Vanity Fair would be publishing
her article), Williams did not communicate with Kacy, and she never had a
conversation with Kacy in which she intentionally concealed or lied about her role
in the arrest.
       74.       This statement and attribution are defamatory because Williams is
falsely portrayed as someone who lied to her friends to conceal her role in
Sorokin’s arrest. This is a negative personal trait that Williams does not hold. It
should also be read in the context of the other defamatory statements and false
attributions whose cumulative effect is to increase their defamatory meaning. The
statement is defamatory per se because its import is apparent from the face of the
Series without resort to any other source.
12th Set Of Defamatory Statements - Episode 8, 1:02:05-1:02:45
       75.       “NEFF:       So the next time we see her she’ll be wearing a jumpsuit.
I knew she was due for a fall but…
       KACY:                  What was she doing in LA anyway?
       WILLIAMS:              I think she was in some rehab.
       KACY:                  Rehab? How do you know that?

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          WILLIAMS:          OK, look guys, I wasn’t going to say this, but I was
actually on the phone with her when she was arrested.
          NEFF:              Seriously? That’s a coincidence.
          WILLIAMS:          It was surreal. It was awful. I hope they’re treating her
well. Can you imagine? Anna in jail?
          NEFF:              Bet you can imagine.”
          76.   In this scene, Williams meets Kacy and Neff after Sorokin has been
arrested in Los Angeles. Episode 7 has already revealed that Williams had tricked
Anna into meeting her for lunch in Los Angeles so that the police could arrest her.
Thus, Williams is shown to be lying to Kacy and Neff when she told them half-
truths and lies concealing the role she was shown to have played in Sorokin’s
arrest.
          77.   These are false statements of fact and false attributions. The true facts
are that Williams never had a conversation with Kacy or Neff in which she
intentionally concealed or lied about her role in Sorokin’s arrest.
          78.   These statements and attributions are defamatory because Williams is
falsely portrayed as a liar who misled friends about her role in Sorokin’s arrest.
She is also portrayed as hypocritical because in Episode 7 at 19:32-19:37, she told
a colleague that “I’m not going to turn over a foreign woman to the police, not in
Trump’s America,” but then she went to the police to offer to help them arrest
Sorokin. These are negative personal traits or attitudes that Williams does not hold.
They should also be read in the context of other false statements and attributions
whose cumulative effect is to increase their defamatory meaning. For example, in
Episode 7, at 38:00, Vivian’s colleagues falsely state or imply that Williams was
under an obligation to tell Kacy that she was going to the police to file a report that
Sorokin had defrauded her, that she failed to do so, and that as a consequence, she



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was a “snitch.” The statement is defamatory per se because its import is apparent
from the face of the Series without resort to any other source.
13th Set Of Defamatory Statements - Episode 9, 44:40-45:52.
      79.     “KACY        You dropped a dime on Anna? Worked with the cops? Set
her up? Lured her out of rehab?
      WILLIAMS:            Look, I can explain. I know you’re probably angry.
      KACY:                This is shock. You’ll know when I’m angry.
      WILLIAMS:            I had to cooperate with the police. It was the only way to
get reimbursed.
      KACY:                Why hide it?
      WILLIAMS:            I was ashamed. I felt used. By the police, by the
prosecutor.
      KACY:                I felt used. By you. Thinking you’re some kind of victim in
all this. Taking care of yourself..
      WILLIAMS:            I am a victim in all of this.
      KACY:                At least you get to cry into all that money. Looks like
you’ll have plenty left over even after you pay Amex the 60k you owe. Unless
someone already paid that back for you. Do not withhold from me at this moment.
      WILLIAMS:            Amex took care of it. They saw how crazy this situation
was and they…
      KACY:                So you made out just fine from dropping a dime on your
friend.” (Rachel hurries past her down the stairs without saying anything else.)
      80.     This scene occurs in the courthouse immediately after Williams has
finished her testimony which revealed her role in Sorokin’s arrest. Kacy, who had
heard the testimony, is waiting on the stairs and confronts Williams, accusing her
of betraying Sorokin to the police but concealing that fact from her friends, of
benefitting financially from this conduct, and of falsely playing the victim. The

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accusations have great power because of the strength with which Kacy delivers
them and because Kacy is the moral compass in the Series, one of the few to
emerge with her integrity intact. By contrast, Williams is shown to be a weak,
cowardly and dishonest person who does not stand up to Kacy but rather runs away
with a few lame excuses, just as she had run away when Neff confronted her about
her disloyalty to Sorokin in Episode 4 (1st Set of Defamatory Statements).
        81.   These are false statements of fact and false attributions for the
following reasons:
              (a) Kacy never confronted Williams in this manner - Kacy came to
court to hear Williams’ testimony to support Williams - she and Williams
maintained an amicable relationship before, during and after the trial.
              (b) Williams never uttered the words attributed to her in this scene,
nor did she ever run away from Kacy;
              (c) Williams cooperated with the police because she believed that
Sorokin was a criminal who had defrauded her and others and that it was
appropriate for the authorities to prosecute her for those crimes: not because it was
“the only way to get reimbursed.” In fact, Williams had no expectation at all that
Sorokin’s prosecution would benefit her financially or otherwise;
              (d) She did not mislead her friends about her role in Sorokin’s arrest
by omission - she included the relevant details in the Book and testified about them
at trial;
              (e) She was not ashamed by what she had done, nor did she feel used
by the police and prosecutors, and she never said such things to anyone; and
              (f) American Express had not “taken care” of Williams’ liability for
the Hotel charges on her Personal Amex – it did eventually waive the $36,010
charge for the Hotel but not until a few weeks after the criminal trial ended (i.e.,



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after this scene), when it unexpectedly agreed to remove it; moreover, Williams
had already paid Amex for the non-hotel charges.
      82.    These statements and attributions are defamatory because they falsely
portray Williams as a liar who misled mutual friends about her role in Sorokin’s
arrest, as a disloyal and opportunistic friend who assisted law enforcement to arrest
a friend for her financial benefit, as someone who falsely claimed to be a victim of
the Sorokin saga when in fact she benefitted financially, and as someone who was
ashamed of her actions. These are negative personal traits or attitudes that
Williams does not hold. They should also be read in the context of the other
defamatory statements and false attributions alleged herein whose cumulative
effect is to increase their defamatory meaning. The statements and attributions are
defamatory per se because their import is apparent from the face of the Series
without resort to any other source.
14th Set Of Defamatory Statements - Episode 7, 33:22-33:35.
      83.    “KACY (to Vivian): I told Rachel we should contact Anna’s parents.
We could find them online or something.
      VIVIAN:       So you spoke to Anna’s parents?
      KACY:         No, Rachel said she wanted to think about it. [Laughs] And
then, I saw her article today. These girls are toxic—all of them.”
      84.    In this scene, Kacy states or implies that Williams was lying when she
told Kacy that she wanted to think about contacting Sorokin’s parents, because at
the time, she was writing, or had written, the Vanity Fair Article which explained
how Sorokin had conned her and lied to her. Thus, she had no desire to help
Sorokin by contacting her parents, but rather than explaining to this to Kacy in a
direct and honest manner, she had lied by saying she wanted to think about it. The
unpleasantness of her conduct is underlined by Kacy, who is the most moral
character in the Series. describing her as “toxic.”

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      85.    These are false statements of fact and false attributions. The true facts
are that Williams told Kacy that she wanted to think about contacting Sorokin’s
parents.
      86.    These statements and attributions are defamatory because they falsely
portray Williams as a manipulative and deceitful person who misled Kacy about
wanting to help Sorokin in order to dissuade her from calling Sorokin’s parents.
This is a negative personal trait or attitude that Williams does not hold. It should
also be read in the context of the other defamatory statements and false attributions
whose cumulative effect is to increase their defamatory meaning. The statement is
defamatory per se because its import is apparent from the face of the Series
without resort to any other source.
 STATEMENTS IN WHICH WILLIAMS IS PORTAYED AS MISUSING HER
             BUSINESS AMEX TO PAY FOR SOROKIN EXPENSES
15th Set Of Defamatory Statements – Episode 7, 16:25-16:39.
      87.    “LINDA (Vanity Fair employee): … I had a message from Amex,
something about an unpaid balance on your corporate card.”
      WILLIAMS:           Oh. Mine?
      LINDA:              Look, Marco’s doing his quarterly checks next week, so
you’d better pay whatever need spaying by then.
      WILLIAMS:           Definitely. I’ll have everything cleared. I must have
forgotten.
      LINDA;              Sure.”(Williams immediately calls Sorokin and leaves a
message imploring her to send her the money she is owed).
      88.    In this scene, Williams is shown lying to her employer about being
aware that there is a large unpaid balance on her Business Amex, falsely claiming
when confronted that she must have forgotten about it. This is a false statement
and/or attribution. Williams never lied to her employer about this charge. On the

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contrary, she voluntarily told her employer that a large personal charge had been
placed on her Business Amex and that she accepted responsibility for it.
      89.    This false statement and/or attribution is defamatory because Williams
is portrayed as an unethical, evasive and deceitful employee who lied about being
aware of this charge. These are negative personal and professional traits that
Williams does not hold. It should also be read in the context of the other
defamatory statements and false attributions whose cumulative effect is to increase
their defamatory meaning. The statement and/or attribution is defamatory per se
because its import is apparent from the face of the Series without resort to any
other source.


16th Set Of Defamatory Statements – (a) Episode 7, 18:40-18:51.
      90.    “LINDA:      Something you want to tell me?
      LINDA:              You let her spend $62,000 on your company AmEx?
      WILLIAMS:           I didn’t let her. I mean, I did, but she is supposed to pay
me back.”
16th Set Of Defamatory Statements – (b) Episode 7, 38:10-38:45
      91.    “RACHEL: I… I swear, I wasn't trying I wasn’t trying to defraud the
company. She said she would pay me back. /
      VANITY FAIR EXEC: This isn't about your friend, but your lack of
      judgment.
      RACHEL:             But it wasn't my fault.
      VF EXEC:            Whose then?
      RACHEL:             I tried to fix it.
      EXEC:               You failed.
      RACHEL:             Are you firing me?



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      EXEC:               If an investigation finds that you were in on it, we'll be
calling in the police.
      RACHEL:             Wait, I… I didn't take any of it.
      EXEC:               You stayed at the hotel, didn't you?
      RACHEL:             Can't you understand what I've gone through?
      EXEC:               You helped your friend defraud this company. You're
neck deep in this Rachel.”
16th Set Of Defamatory Statements – (c) Episode 7, 45:43-48
      92.    “VF EXEC: Rachel, until this investigation is complete, I’ll need you
to return all your company IDs and credit cards. . .”
      93.    In the first scene, Williams admits that she let Sorokin charge $62,000
to the Business Amex. In the second, the executive accuses Williams of poor
judgment and of helping her friend defraud her employer. And in the third, she is
ordered to return her company ID’s and credit cards. The cumulative effect of
these scenes is to portray Williams as an irresponsible employee whose employer
believed that she was complicit in a $62,000 fraud against the employer, and that
her misconduct was sufficiently serious to warrant an investigation and the return
of her ID’s and credit cards.
      94.    These statements and/or attributions are false. Vanity Fair was not
defrauded, and Williams was not complicit in such a scheme, not least because she
had not given the Hotel permission to charge anything on the Business Amex. At
no point in time was there any possibility of Vanity Fair having to pay the charge
because Williams marked the charge as “personal” on her expense report and
informed the finance manager that she was reconciling the line item. This meant
that she accepted responsibility for paying the balance to Amex directly, and
consequently, she was never confronted nor investigated by Vanity Fair. Williams
was supported by her colleagues throughout the ordeal. Further, only $16,670 of

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the Hotel charges was charged to the Business Amex, not $62,000, and American
Express’s own investigation concluded that it was charged without her consent and
against her explicit instructions. Furthermore, the ensuing conversation falsely
portrays Williams as attempting to conceal the fraudulent charge from her
employer.
      95.    These statements and/or attributions are defamatory because the
cumulative effect of these scenes is to falsely portray Williams as an irresponsible
employee whose employer believed that she helped a friend defraud the company
out of $62,000, and whose misconduct was sufficiently serious to warrant an
investigation and the return of her ID’s and credit cards. These are negative
personal traits or attitudes that Williams does not hold. They should also be read in
the context of the other defamatory statements and false attributions whose
cumulative effect is to increase their defamatory meaning. The statement and/or
attribution is defamatory per se because its import is apparent from the face of the
Series without resort to any other source, and because they impugn her
professional capabilities.


                               ACTUAL MALICE
      96.    The 15 sets of Defamatory Statements set forth above (collectively,
the “Defamatory Statements”) were made by Netflix with actual malice, defined as
knowledge of falsity or reckless disregard for truth or falsity. Because media
defendants never openly confess to publishing or broadcasting with actual malice,
proof thereof may plausibly be inferred from indirect and circumstantial evidence,
considered in its totality. As the United States Supreme Court explained in Herbert
v. Lando, 441 U.S. 153, 164 n. 12 (1979): “The existence of actual malice may be
shown in many ways. As a general rule, any competent evidence, either direct or
circumstantial, can be resorted to, and all the relevant circumstances surrounding

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the transaction may be shown, provided they are not too remote, including threats,
prior or subsequent defamations, subsequent statements of the defendant,
circumstances indicating the existence of rivalry, ill will, or hostility between the
parties, facts tending to show a reckless disregard of the plaintiff's rights . . .”
      97.    Netflix’s actual malice may plausibly be inferred from the facts pled
herein, including, without limitation, the following.
      98.    Netflix hired a researcher to investigate the Sorokin story whose
research was given to the creator and writers. Shonda Rhimes, the executive
producer and creator of the Series, explained in an interview, “We were telling a
story that was based on fact, so needed a document to build an extensive timeline
of events, to dig into little things that we weren’t even sure were going to matter.
For this particular show, having someone who has read every transcript of the trial,
who was paying close attention to every detail in Anna’s life, was really, really
important, because we wanted to know what we were thinking. We wanted to
know what we were making up; we didn’t want to be making things up just for
the sake of it.” She added, “we wanted to intentionally be fictionalizing
moments versus just accidentally be fictionalizing them.” [Id.] This constitutes
an admission by Rhimes that as a result of this research, Netflix knew the truth
about the subject matter of the Series, and where it departs from the truth, it was
because Netflix had intentionally decided to do so. Thus, Netflix knew that the
Defamatory Statements were false or acted with a reckless disregard of Williams’
rights. No further evidence of actual malice is required. But such evidence exists.
      99.    Though Sorokin was convicted on eight charges, including grand
larceny, Netflix portrayed her sympathetically, ignoring or downplaying the real
nature of her actions which were dishonest, self-serving, injurious to others and
doomed to fail. Rhimes stated in an interview that Sorokin is a "fascinating
creature,” saying, "She's a villain's villain, if you know what I mean. You kind of

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can't help but admire her."13 In another interview, she said, "I root for Anna,.. but I
don’t necessarily expect everyone else to. People have their judgements.” Despite
being a con artist, the Series presents Sorokin’s brazen willingness to lie, cheat and
steal her way past supposedly unjust obstacles rooted in bureaucracy, ageism and
sexism as admirable.
        100. As a counterbalance to its overly sympathetic portrayal of Sorokin,
Netflix made a conscious decision to portray Williams negatively. Netflix’s own
website presents a damning judgment, describing her as “Anna’s opportunistic
friend Rachel” who “enjoys the perks Anna’s wealth provides, like luxury clothes
and accessories.14 Unlike Neff, Rachel turns her back on Anna once the full scope
of her deception comes to light.”15 This is clear evidence of Netflix’s bias against
her.
        101. Netflix further described Williams in a press release dated October 31,
2019 (“2019 Press Release”), as “a natural-born follower whose blind worship of
Anna almost destroys her job, her credit, and her life. But while her relationship
with Anna is her greatest regret, the woman she becomes because of Anna may be
Anna’s greatest creation.” It is grossly insulting (and totally false) to describe
Williams as a ”natural-born follower” who engaged in “blind worship” of Sorokin,
or as Sorokin’s “creation,” and is further evidence of Netflix’s bias against her.




13
  https://www.eonline.com/news/1319139/how-even-shonda-rhimes-became-
obsessed-with-inventing-anna-your-next-true-crime-binge
14
  Save as set forth in footnote 10 above, Sorokin never bought clothing or
accessories for Williams, nor did Williams ever wear Sorokin’s clothing or
accessories. This is Defendants’ fabrication made with the specific intent to
damage Williams’ reputation by making her look like a freeloader.
15
     https://www.netflix.com/tudum/inventing-anna/cast

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      102. Actress Katie Lowes made a telling admission in a media interview
about her role: "You have no idea who's the antihero, who's the villain, or who's
right and who's wrong. It's playing in this grey area the whole time, especially with
Rachel.” One way to achieve this is to make the real life villain more appealing
and to make the real life victim less appealing by making her unlikeable. Lowes
confirms that this is what occurred when she told one interviewer, "I was playing it
as that classic high school mean-girl vibe where you're jockeying for best-friend
position to Anna." She told another: "[The Rachel character is] a people pleaser.
She’s young, naïve, and had a privileged life. I don’t think this is necessarily
true of Rachel Williams in real life; I think this is true of the character
Shonda wrote and what Shonda needed the character to be for the show." This
constitutes an admission that not only is the portrayal of Williams in the Series
false, but that it was false because that is what Rhimes “needed” to invent for
dramatic purposes, to make the Series “sing.”16
      103. It was entirely Netflix’s decision to falsely paint Williams to be a vile
person. The 8,500 word Pressler Article upon which the Series is closely based
mentions Williams only briefly and makes no negative judgments about her.
      104. The Vanity Fair Article was published in in April 2018, and the Book
was published in early 2019. Both contain accurate narratives of what happened to
Williams, the Book doing so in great detail. They were publicly available to
Netflix which expressly acknowledged the existence and success of the Book in
Episode 9 at 1:17:44-46 (see Exhibit 1). Further, Rhimes stated in the interview
quoted above that the researcher “read every transcript of the trial, who was paying


16
   Rhimes told The Hollywood Reporter, “there was stuff that we invented because
it needed to be invented to make the story really sing and be what it should be.”
https://www.hollywoodreporter.com/tv/tv-features/inventing-anna-shonda-rhimes-
anna-delvey-julia-garner-1235196093/

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close attention to every detail in Anna’s life.” Thus, when Netflix made the
decision to research the underlying facts, it is charged with knowledge of the facts
in the Vanity Fair Article and the Book, and the sworn testimony of Williams and
others in the Transcripts, and its decision to depart from those facts was either
intentional or reckless.
      105. Williams twice put Netflix on written notice before the Series was
broadcast about her concerns that she would be defamed and cast in a false light.
By letter dated January 7, 2020, an attorney representing Williams (a) informed
Netflix that the statements about Williams in the 2019 Press Release were false and
defamatory, (b) urged Netflix not to portray Williams in a defamatory manner or in
a false light; and (c) warned Netflix that if it did, Williams would sue. Netflix
responded by letter dated January 17, 2020, promising that Williams’ portrayal
“will be within the bounds of the law.” That promise was broken on numerous
occasions in the Series as set forth herein.
      106. By letter dated February 9, 2022, Williams’ current attorney informed
Netflix that the Series defamed her in specific scenes, including the 14th Set of
Defamatory Statements, explaining to Netflix why the portrayal of Williams in
those scenes was false. Netflix responded by letter dated February 14, 2022,
denying that the Series defamed Williams and declining to make any changes.
      107. A jury could also plausibly and reasonably infer actual malice from
Netflix’s failure to correct the falsities described in Williams’ counsel’s letters.
While actual malice must be determined at the time of the publication of the false
light or defamation, courts have long held that a subsequent failure to retract an
obviously false and damaging statement may be probative of actual malice at the
time the statement was originally made.
      108. A jury could also plausibly and reasonably infer actual malice from
the fact that Netflix had an invidious self-interested motive in intentionally and

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recklessly lying about Williams because its creatives thought that painting a false
picture of Williams as a vile and contemptible person would make the Series
“sing.”
      109. The facts pled above are sufficient in themselves to raise the plausible
existence of actual malice in the overall and cumulative portrayal of Williams by
Netflix, examining the entire Series as a whole. The facts reveal a deliberately
callous decision by Netflix to enhance the dramatic impact of the Series by
portraying Williams falsely and negatively, a decision made with knowledge of
falsity or reckless disregard for truth or falsity. This decision was made within
Netflix by the producers, executives, writers, and directors working for Netflix
who were responsible for the defamatory content of the Series.
      110. In addition to the existence of actual malice with regard to the false
and defamatory portrayal of Williams considered as whole, Netflix broadcast all of
the specific false statements of facts pled in this Complaint with knowledge of
falsity or reckless disregard for truth or falsity. These knowing and reckless
falsehoods were made by the producers, executives, writers, showrunners and
directors working for Netflix who were responsible for the defamatory content of
the Series.
      111. Netflix acted with knowledge of falsity or reckless disregard for truth
or falsity in deliberately falsifying the true facts surrounding Williams’ relationship
with Sorokin, including the false portrayal of Williams as a freeloader and false
friend. Netflix knew that Williams was friends with Sorokin because she liked her,
not because Sorokin would pick up the tab, or Netflix broadcast these falsehoods
with subjective doubt as to their truth. These knowing and reckless falsehoods
were made by the producers, executives, writers, showrunners and directors
working for Netflix who were responsible for the defamatory content of the Series.



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      112. Netflix knew that Williams did not drop Sorokin as a friend because
Sorokin was no longer able to pay for her social life and clothes (she never bought
Williams any clothes), but rather because she discovered that Sorokin (i) had made
the fraudulent statements and promises detailed above which induced her to incur
liabilities of around $62,000 on Sorokin’s behalf, (ii) had made numerous promises
to reimburse her approximately $62,000 (and sent her fabricated wire
confirmations) but only reimbursed her $5,000, and (iii) was a liar and a con artist,
or Netflix broadcast these falsehoods with subjective doubt as to their truth. Yet
despite Netflix’s knowledge of or subjective doubt concerning the true facts, it
intentionally portrayed false facts of and concerning Williams regarding these
matters to viewers. These knowing and reckless falsehoods were made by the
producers, executives, writers, showrunners and directors working for Netflix who
were responsible for the defamatory content of the Series.
      113. Netflix knew that Sorokin never bought clothes, shoes, earrings, or a
bag as gifts for Williams, who never wore Sorokin’s clothing (save for one pair of
yoga pants (see footnote 10) during a friendship lasting around 16 months) or
accessories and never told Neff that Sorokin had bought her clothes, or Netflix
subjectively doubted the truth of these falsehoods. Yet despite that knowledge of or
subjective doubt concerning the true facts, Netflix intentionally portrayed false
facts of and concerning Williams regarding these matters to viewers. These
knowing and reckless falsehoods were made by the producers, executives, writers,
showrunners and directors working for Netflix who were responsible for the
defamatory content of the Series.
      114. Netflix knew that Williams never accused Neff of being Sorokin’s
“paid bitch,” or subjectively doubted that Williams had ever made this statement to
Neff. Yet Netflix intentionally fabricated that quotation, which was never spoken
by Williams. These knowing and reckless falsehoods were made by the producers,

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executives, writers, showrunners and directors working for Netflix who were
responsible for the defamatory content of the Series.
      115. Netflix knew that the statements portraying Williams as a disloyal and
opportunistic friend who wore expensive designer shoes which were gifts from
Sorokin were false, or Netflix subjectively doubted the truth of those statements.
Netflix knew that it was not true that Williams did not wear any such shoes and
that she did not drop Sorokin as a friend because Sorokin was in jail, but rather
ultimately that Williams ultimately dropped Sorokin as a friend because Sorokin
defrauded Williams. Netflix knew these statements and portrayals were false, yet
acted with either knowledge of falsity or reckless disregard for truth or falsity as to
all of them. These knowing and reckless falsehoods were made by the producers,
executives, writers, showrunners and directors working for Netflix who were
responsible for the defamatory content of the Series.
      116. Netflix knew that Williams never borrowed money or valuable
possessions from Sorokin, or subjectively doubted that Williams ever borrowed
money or possessions from Sorokin. Yet despite Netflix’s knowledge of falsity or
subjective doubt as to truth or falsity, Netflix broadcasted false these and
defamatory facts of and concerning Williams with knowledge of falsity or reckless
disregard for truth or falsity as to these matters. These knowing and reckless
falsehoods were made by the producers, executives, writers, showrunners and
directors working for Netflix who were responsible for the defamatory content of
the Series.
      117. Netflix knew that the scene in which Williams was portrayed as
angling to get Sorokin to pay for an expensive hair styling for herself, and
succeeded in doing so, was false, or Netflix broadcast the portrayal with subjective
doubt as to its truth or falsity. Netflix knew that Williams never tried to get
Sorokin to pay for an expensive hair stylist for her, and Sorokin never paid for her

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hair stylist, or Netflix subjectively doubted the truth of these allegations. Netflix
also intentionally manufactured the words spoken by Williams in connection with
these events, putting words into Williams’ mouth to convey and communicate the
false portrayal, knowing she did not speak those words or subjectively doubting
that Williams spoke those words. Netflix broadcasted these false and defamatory
facts of and concerning Williams with knowledge of falsity or reckless disregard
for truth or falsity as to these matters. These knowing and reckless falsehoods were
made by the producers, executives, writers, showrunners and directors working for
Netflix who were responsible for the defamatory content of the Series.
      118. Netflix knew that the scene that it twice broadcasted depicting
Williams as trying to persuade Sorokin to book a larger suite at the Hotel, and
when Sorokin demurred, she kept on the pressure by volunteering to book the
upgrade herself, was false, or Netflix broadcast the scene with subjective doubt as
to its truth. Netflix also intentionally manufactured the words spoken by Williams
in connection with these events, putting words into Williams’ mouth to convey and
communicate the false portrayal, knowing she did not speak those words or
subjectively doubting that Williams spoke those words. Netflix broadcasted these
false and defamatory facts of and concerning Williams with knowledge of falsity
or reckless disregard for truth or falsity as to these matters. These knowing and
reckless falsehoods were made by the producers, executives, writers, showrunners
and directors working for Netflix who were responsible for the defamatory content
of the Series.
      119. Netflix knew that the scenes in which it portrayed Williams as getting
a massage and tennis lessons and pressuring Sorokin to book a tour of the
Majorelle Gardens, were false, or Netflix broadcast the scenes with subjective
doubt as to its truth. Netflix also intentionally manufactured the words spoken by
Williams in connection with these events, putting words into Williams’ mouth to

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convey and communicate the false portrayal, knowing she did not speak those
words or subjectively doubting that Williams spoke those words. Netflix
broadcasted these false and defamatory facts of and concerning Williams with
knowledge of falsity or reckless disregard for truth or falsity as to these matters.
These knowing and reckless falsehoods were made by the producers, executives,
writers, showrunners and directors working for Netflix who were responsible for
the defamatory content of the Series.
      120. Netflix knew that when Williams and Sorokin first started seeing each
other, they split the cost of drinks, dinners and transport; that on two or more
occasions, Williams went to a bar with Sorokin and some others where Sorokin
offered to buy drinks for everyone, but when the bill came, Sorokin did not have a
credit card and Williams ended up paying for the bill, one of which was more than
$1,000; and that Williams paid for a dinner for both of them in New York after the
Morocco trip. Yet Netflix deliberately and knowingly portrayed false facts
concerning these matters, communicating to viewers that Sorokin paid for
everything. Netflix broadcasted these false and defamatory facts of and concerning
Williams with knowledge of falsity or reckless disregard for truth or falsity as to
these matters. These knowing and reckless falsehoods were made by the producers,
executives, writers, showrunners and directors working for Netflix who were
responsible for the defamatory content of the Series.
      121. Netflix knew that Williams and Sorokin had approximately 10
sessions together in an infrared sauna, and they paid for about 5 sessions each. Yet
Netflix intentionally portrayed Sorokin as paying for all of the sauna treatments.
Netflix knew the falsity or subjectively doubted the accuracy of its portrayal
regarding these events. Netflix broadcasted these false and defamatory facts of and
concerning Williams with knowledge of falsity or reckless disregard for truth or
falsity as to these matters. These knowing and reckless falsehoods were made by

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the producers, executives, writers, showrunners and directors working for Netflix
who were responsible for the defamatory content of the Series.
      122. Netflix knew that Sorokin only paid for one spa treatment for
Williams, which consisted of a facial and a massage, at the Greenwich hotel where
she was staying, and that Sorokin never paid for a manicure for Williams, or
Netflix broadcast false statements regarding these events with subjective doubt as
to their truth. In portraying these events Netflix also intentionally manufactured the
words spoken by Williams in connection with these events, putting words into
Williams’ mouth to convey and communicate the false portrayal, knowing she did
not speak those words or subjectively doubting that Williams spoke those words.
Netflix broadcasted these false and defamatory facts of and concerning Williams
with knowledge of falsity or reckless disregard for truth or falsity as to these
matters. These knowing and reckless falsehoods were made by the producers,
executives, writers, showrunners and directors working for Netflix who were
responsible for the defamatory content of the Series.
      123. Netflix knew that a scene in which Williams is portrayed belittling
Neff for working in a hotel, and deriding Neff’s ambition to make a film, was
manufactured and fabricated and never occurred, or Netflix broadcast its portrayal
of this scene with subjective doubt as to its truth. Netflix knew that Williams never
acted or spoke in such a way to Neff, or to anyone else, and did not make the other
statements attributed to her in this scene. Netflix also intentionally manufactured
the words spoken by Williams in connection with these events, putting words into
Williams’ mouth to convey and communicate the false portrayal, knowing she did
not speak those words or subjectively doubting that Williams spoke those words.
Netflix broadcasted these false and defamatory facts of and concerning Williams
with knowledge of falsity or reckless disregard for truth or falsity as to these
matters. These knowing and reckless falsehoods were made by the producers,

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executives, writers, showrunners and directors working for Netflix who were
responsible for the defamatory content of the Series.
      124. Netflix knew that a scene in which Neff stated or implied that
Williams abandoned Sorokin when Sorokin was alone and having a tough time in
Morocco was a false portrayal, or Netflix broadcast with subjective doubt as to the
truth of this scene. Netflix knew that the true facts are that Williams had told
Sorokin back in New York that she would be leaving Morocco on a specific day
(May 19) to travel to France for work. She did not “abandon” Sorokin. The
problems with credit cards at the Hotel and the private museum tour occurred the
day before on May 18. Williams stayed at the Hotel that night and had dinner with
Sorokin. When she left the next morning as previously arranged, Sorokin was still
in the luxurious private villa at the Hotel accompanied by Jesse who stayed with
Sorokin until she checked out of the Hotel, and then accompanied her to another
luxury hotel in Morocco where they both stayed for a few more days. When
Williams left on May 19, she knew that Sorokin she was having financial
difficulties, but Sorokin had said that she would be receiving substantial funds
soon. It is therefore absolutely false to suggest that Williams left Marrakesh when
Sorokin was “down,” alone, and in a tough situation. Netflix knew these true facts,
yet intentionally presented false facts to viewers, or broadcasted its portrayal with
subjective doubt that the portrayal was true. Netflix broadcasted these false and
defamatory facts of and concerning Williams with knowledge of falsity or reckless
disregard for truth or falsity as to these matters. These knowing and reckless
falsehoods were made by the producers, executives, writers, showrunners and
directors working for Netflix who were responsible for the defamatory content of
the Series.
      125. Netflix knew that its portrayal of a scene in which Neff states or
implies that Williams terminated her friendship with Sorokin in Morocco because

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Sorokin was having problems was false, or Netflix broadcast with subjective doubt
as to the truth of the portrayal. Netflix knew that Williams did not stop being
friends with Sorokin because Sorokin was having problems in Morocco, but rather
because she subsequently discovered on her return to New York that Sorokin was a
liar and a con artist whose statements and promises had induced Williams to incur
liabilities of around $62,000 on Sorokin’s behalf were false, and who only
reimbursed her $5,000 despite numerous promises to reimburse her $70,000 to
account for the full debt and any late fees incurred, or Netflix broadcasted with
subjective doubt as to the truth of its portrayal regarding these facts. Netflix
broadcasted these false and defamatory facts of and concerning Williams with
knowledge of falsity or reckless disregard for truth or falsity as to these matters.
These knowing and reckless falsehoods were made by the producers, executives,
writers, showrunners and directors working for Netflix who were responsible for
the defamatory content of the Series.
      126. Netflix knew that its portrayal of a scene surrounding the interactions
between Williams and Noah regarding the circumstances leading to their decision
to leave Morocco was false, or Netflix broadcast the scene with subjective doubt as
to its truth. Netflix deliberately portrayed Williams as abandoning Sorokin because
Sorokin was alone, depressed and in serious trouble in Morocco. Netflix knew that
this was false, and that Williams left Morocco on May 19 as previously arranged
because of work assignment, and that when she left, Sorokin was accompanied by
Jesse and had told Williams that funds to cover her expenses were in the process of
being wired to her. Netflix broadcasted these false and defamatory facts of and
concerning Williams with knowledge of falsity or reckless disregard for truth or
falsity as to these matters. These knowing and reckless falsehoods were made by
the producers, executives, writers, showrunners and directors working for Netflix
who were responsible for the defamatory content of the Series.

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      127. Netflix knew that a scene in which Williams is portrayed as
pretending to be surprised by the news that Sorokin had been arrested (in Los
Angeles) and was back in New York, and wondering how she had been caught,
was false, or Netflix broadcasted, was manufactured, fabricated, and false, or
Netflix broadcasted with subjective doubt as to the portrayal’s truth. Netflix knew
the true facts, which were that Williams had in fact been working with law
enforcement and had invited Anna to meet her for lunch in Los Angeles so that the
police could arrest her. Despite Netflix’s knowledge of the true facts, Netflix
invented a scene that never occurred, portraying Williams as deceiving and lying
by omission to Kacy when she feigned ignorance in their conversation on that
subject. Netflix knew that the true facts are that from September 13, 2017 (weeks
prior to Sorokin’s arrest) to April 10, 2018 (when she gave Kacy advance notice
that Vanity Fair would be publishing her article), Williams did not communicate
with Kacy at all, or Netflix broadcast with subjective doubt as to the accuracy of
this fabricated scene. Netflix also intentionally manufactured the words spoken by
Williams in connection with these events, putting words into Williams’ mouth to
convey and communicate the false portrayal, knowing she did not speak those
words or subjectively doubting that Williams spoke those words. Netflix
broadcasted false and defamatory facts of and concerning Williams with
knowledge of falsity or reckless disregard for truth or falsity as to these matters.
These knowing and reckless falsehoods were made by the producers, executives,
writers, showrunners and directors working for Netflix who were responsible for
the defamatory content of the Series.
      128. Netflix knew that it fabricated and manufactured a false scene in
which Williams is depicted as saying to a colleague that “I’m not going to turn
over a foreign woman to the police, not in Trump’s America,” yet Williams is later
shown to go to the police to offer to help them arrest Sorokin. In manufacturing

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the invented scene with words that Williams never spoke Netflix deliberately set
out to portray Williams as a hypocrite and liar. Netflix also intentionally
manufactured the words spoken by Williams in connection with these events,
putting words into Williams’ mouth to convey and communicate the false
portrayal, knowing she did not speak those words or subjectively doubting that
Williams spoke those words. Netflix broadcasted false and defamatory facts of and
concerning Williams with knowledge of falsity or reckless disregard for truth or
falsity as to these matters. These knowing and reckless falsehoods were made by
the producers, executives, writers, showrunners and directors working for Netflix
who were responsible for the defamatory content of the Series.
      129. Netflix knew that it intentionally manufactured and fabricated a scene
occurring in the courthouse immediately after Williams has finished her testimony
which revealed her role in Sorokin’s arrest. Kacy, who had heard the testimony,
depicted as waiting on the stairs and confronting Williams, accusing her of
betraying Sorokin to the police but concealing that fact from her friends, of
benefitting financially from this conduct, and of falsely playing the victim. Netflix
intentionally created this fabricated scene to convey great dramatic power because
of the strength with which Kacy delivers the statements and because Kacy is the
moral compass in the Series, one of the few to emerge with her integrity intact. By
contrast, Williams is shown to be a weak, cowardly and dishonest person who does
not stand up to Kacy but rather runs away with a few lame excuses, just as she had
run away when Neff confronted her about her disloyalty to Sorokin. Netflix knew
that the entire scene was fabricated and manufactured, or Netflix broadcasted with
subjective doubt as to the truth of the portrayal. Netflix knew that Kacy never
confronted Williams in this manner, and Williams never uttered the words
attributed to her in this scene, nor did she ever run away from Kacy, or Netflix
broadcasted with subjective doubt as to the truth of this portrayal. Netflix also

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intentionally manufactured the words spoken by Williams in connection with these
events, putting words into Williams’ mouth to convey and communicate the false
portrayal, knowing she did not speak those words or subjectively doubting that
Williams spoke those words. Netflix broadcast these false and defamatory facts of
and concerning Williams with knowledge of falsity or reckless disregard for truth
or falsity as to these matters. These knowing and reckless falsehoods were made by
the producers, executives, writers, showrunners and directors working for Netflix
who were responsible for the defamatory content of the Series.
      130. Netflix knew that it was falsely conveying to viewers that Williams
cooperated with the police for her own financial gain, rather than because she
believed that Sorokin was a criminal who had defrauded her and others and that it
was appropriate for the authorities to prosecute her for those crimes, or Netflix
broadcasted with subjective doubt as to the truth of the portrayal. Netflix knew that
Williams had no expectation at all that Sorokin’s prosecution would benefit her
financially or otherwise, or broadcasted with subjective doubt as to its portrayal.
Netflix broadcasted these false and defamatory facts of and concerning Williams
with knowledge of falsity or reckless disregard for truth or falsity as to these
matters. These knowing and reckless falsehoods were made by the producers,
executives, writers, showrunners and directors working for Netflix who were
responsible for the defamatory content of the Series.
      131. Netflix knew that it was falsely portraying Williams as having misled
her friends about her role in Sorokin’s arrest, or broadcast that portrayal with
subjective doubt as to its accuracy. Netflix knew that Williams had included all the
relevant details in the Book authored by Williams as well as in her testimony at
trial. Netflix broadcasted these false and defamatory facts of and concerning
Williams with knowledge of falsity or reckless disregard for truth or falsity as to
these matters. These knowing and reckless falsehoods were made by the producers,

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executives, writers, showrunners and directors working for Netflix who were
responsible for the defamatory content of the Series.
      132. Netflix knew that it falsely portrayed Williams as being ashamed by
what she had done, or as regarding herself as having been used by the police and
prosecutors, or Netflix broadcasted these statements with subjective doubt as to
their truth. Netflix also intentionally manufactured the words spoken by Williams
in connection with these events, putting words into Williams’ mouth to convey and
communicate the false portrayal, knowing she did not speak those words or
subjectively doubting that Williams spoke those words. Netflix broadcast these
false and defamatory facts of and concerning Williams with knowledge of falsity
or reckless disregard for truth or falsity as to these matters. These knowing and
reckless falsehoods were made by the producers, executives, writers, showrunners
and directors working for Netflix who were responsible for the defamatory content
of the Series.
      133.       Netflix knew that it was falsely conveying to viewers that American
Express had “taken care” of Williams’ liability for the Hotel charges on her
Personal Amex before or during the trial. Netflix knew that American Express did
eventually waive the $36,010 charge for the Hotel but not until a few weeks after
the criminal trial ended, when it unexpectedly agreed to remove it and that
Williams had already paid American Express for the non-hotel charges. Netflix
broadcast these false and defamatory facts of and concerning Williams with
knowledge of falsity or reckless disregard for truth or falsity as to these matters.
These knowing and reckless falsehoods were made by the producers, executives,
writers, showrunners and directors working for Netflix who were responsible for
the defamatory content of the Series.
      134. Netflix knew that it broadcast a false and fabricated scene depicting
Kacy as stating or implying that Williams was lying when she told Kacy that she

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wanted to think about contacting Sorokin’s parents, because at the time, she was
writing, or had written, the Vanity Fair Article which explained how Sorokin had
conned her and lied to her. Netflix knew that the true facts are that Williams never
had such a conversation with Kacy, or Netflix created this scene with subjective
doubt as to its accuracy. Netflix also intentionally manufactured the words spoken
by Williams in connection with these events, putting words into Williams’ mouth
to convey and communicate the false portrayal, knowing she did not speak those
words or subjectively doubting that Williams spoke those words. Netflix broadcast
these false and defamatory facts of and concerning Williams with knowledge of
falsity or reckless disregard for truth or falsity as to these matters. These knowing
and reckless falsehoods were made by the producers, executives, writers,
showrunners and directors working for Netflix who were responsible for the
defamatory content of the Series.
      135. Netflix knew that it broadcast a false and fabricated scene stating or
implying that Williams lied to her employer about being aware that there is a large
unpaid balance on her Business Amex, and falsely claiming when confronted that
she must have forgotten about it, or Netflix broadcasted with subjective doubt as to
the accuracy of this portrayal. Netflix knew that Williams voluntarily and
proactively told her employer that a large personal charge had been placed on her
Business Amex and that she accepted responsibility for it, or Netflix broadcasted
with subjective doubt as to the accuracy of its contrary portrayal. Netflix also
intentionally manufactured the words spoken by Williams in connection with these
events, putting words into Williams’ mouth to convey and communicate the false
portrayal, knowing she did not speak those words or subjectively doubting that
Williams spoke those words. Netflix broadcast these false and defamatory facts of
and concerning Williams with knowledge of falsity or reckless disregard for truth
or falsity as to these matters. These knowing and reckless falsehoods were made by

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the producers, executives, writers, showrunners and directors working for Netflix
who were responsible for the defamatory content of the Series.
      136. Netflix knew that it broadcast false and fabricated portrayals of the
circumstances surrounding the charges placed on Williams’ American Express
cards. In one scene, Williams admits that she let Sorokin charge $62,000 to the
Business Amex. In another, an executive accuses Williams of poor judgment and
of helping her friend defraud her employer. And in a third scene, she is ordered to
return her company ID’s and credit cards. The cumulative effect of these scenes is
to portray Williams as an irresponsible employee whose employer believed that
she was complicit in a $62,000 fraud against the employer, and that her misconduct
was sufficiently serious to warrant an investigation and the return of her ID’s and
credit cards. Netflix knew that these portrayals were false. Netflix knew that her
employer was not defrauded, and Williams was not complicit in such a scheme.
Netflix knew that at no point in time was there any possibility of her employer
having to pay the charge because Williams marked the charge as “personal” on her
expense report and informed the finance manager that she was reconciling the line
item. This meant that she accepted responsibility for paying the balance to Amex
directly, and consequently, she was never confronted nor investigated by her
employer. Williams was supported by her colleagues throughout the ordeal.
Further, only $16,670 of the Hotel charges was charged to the Business Amex, not
$62,000, and American Express’s own investigation concluded that it was charged
without consent and against her explicit instructions. Furthermore, the ensuing
conversation falsely portrays Williams as attempting to conceal the fraudulent
charge from her employer. Netflix deliberately conveyed to viewers false
statements regarding all of the above circumstances, or Netflix broadcasted the
statements with subjective doubt as to their truth. Netflix also intentionally
manufactured the words spoken by Williams in connection with these events,

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putting words into Williams’ mouth to convey and communicate the false
portrayal, knowing she did not speak those words or subjectively doubting that
Williams spoke those words. Netflix broadcasted these false and defamatory facts
of and concerning Williams with knowledge of falsity or reckless disregard for
truth or falsity as to these matters. These knowing and reckless falsehoods were
made by the producers, executives, writers, showrunners and directors working for
Netflix who were responsible for the defamatory content of the Series.
                            FIRST CLAIM FOR RELIEF
                         (False Light Invasion Of Privacy)
      137. Williams incorporates under this first cause of action all of the prior
paragraphs in this Complaint.
      138. The key elements necessary to state a false light claim are (1) the
publication or broadcast of a false statement of fact that places the plaintiff in a
false light in the public eye; (2) if the plaintiff is a public figure, a demonstration
by clear and convincing evidence that the statement was published or broadcast
with “actual malice,” and (3) a demonstration that the publication or broadcast of
the falsehood would be deemed “highly offensive to a reasonable person.”
      139. The first two elements of the false light tort described above are
identical to parallel elements for defamation. In that limited sense false light and
defamation overlap, and the failure to prove an element of an overlapping element
of one necessarily also defeats the other. Thus, both torts require falsity, and both
torts require, at least for public figures, actual malice. Both elements are satisfied
by the facts pled herein.
      140. The third crucial element of the false light tort, however, is not
identical to defamation, and the Supreme Court of the United States has
differentiated the two torts on this ground. Unlike defamation, which requires
proof of injury to reputation, false light does not require proof of defamatory harm.

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The false light tort substitutes for the defamation element requirement of damage
to reputation the requirement that the plaintiff in a false light establish that the
falsehood would be highly offensive to a reasonable person. In this case, the false
statements and attributions set forth in the Defamatory Statements would be highly
offensive to a reasonable person.
      141. As a proximate result of the foregoing, Williams has suffered
damages in an amount according to proof at trial but in any event in excess of the
jurisdictional threshold of this Court, and seeks actual and presumed damages.
      142. Defendants' conduct as described herein was done with a conscious
disregard of the rights of Williams, with the intent to maliciously vex, annoy,
and/or harass her, and with motives of fraud and oppression to exploit her for their
personal gain. Such conduct was unauthorized and constitutes oppression, fraud,
and/or malice, entitling Williams to an award of punitive damages appropriate to
punish or set an example of Defendants in an amount to be determined at trial.
                         SECOND CLAIM FOR RELIEF
                                 (Defamation Per Se)
      143. Williams repleads and incorporates by reference all the paragraphs in
this Complaint above. She does not seek a “double recovery” by pleading her
parallel false light and defamation per se claims, but asserts them as alternative
theories of liability. For her false light claim, she need not prove that the
statements made by Defendants were defamatory, but only that they were highly
offensive to a reasonable person. For this defamation per se cause of action,
Williams must plausibly allege defamatory meaning.
      144. The Defamatory Statements consist of multiple statements of fact
about Williams which are demonstrably false and the attribution of multiple
statements to her that she never made.



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      145. The Defamatory Statements falsely portray Williams as an unethical,
greedy, snobbish, disloyal, dishonest, cowardly, manipulative and opportunistic
person, such as making a belittling remark to Sorokin’s friend Neff because she
worked in a hotel and also calling Neff Sorokin’s “paid bitch”; sponging off
Sorokin by accepting gifts of expensive clothes, jewelry and accessories; sponging
off Sorokin by allowing her to pay for all of their drinks, meals, manicures and
saunas; dropping Sorokin as a friend because Sorokin could no longer pay for her;
manipulating Sorokin to get her to pay for an expensive hair styling for Williams;
abandoning Sorokin in Morocco when she was alone and in trouble; encouraging
Sorokin to book a more lavish hotel suite for their Morocco trip; running away
when confronted; lying to friends by concealing that she had helped the police
arrest Sorokin; and other contemptible conduct as alleged herein. In reality, she
never did or said those things. They should also be read in the context of the other
false statements and false attributions pled herein whose cumulative effect is to
increase their defamatory meaning. The Defamatory Statements are defamatory
because they tend to expose her to public contempt, ridicule, aversion or disgrace,
or to induce an evil opinion of her, and they are defamatory per se because their
import is apparent from the face of the Series without resort to any other source.
      146. The magnitude of the harm to Williams caused by the Netflix’s
defamation has been extraordinary by any plausible measure. The Series has been
viewed by millions of people around the world, and as a result of Netflix’s false
portrayal of her as a despicable person, she has been subjected to a torrent of
online abuse which have caused her personal humiliation, distress, and anguish, as
well as damages to her earnings and/or potential earnings.
      147. In pleading and establishing actual malice, Williams is entitled under
First Amendment standards to recover actual and presumed damages. As a
proximate result of the foregoing, she has suffered actual and presumed damages in

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an amount according to proof at trial but in any event in excess of the jurisdictional
threshold of this Court.
         148. Netflix’s conduct as described herein was done with a conscious
disregard of the rights of Williams, with the intent to maliciously vex, annoy,
and/or harass her, and with motives of fraud and oppression exploiting her for its
personal gain. Such conduct was unauthorized and constitutes oppression, fraud,
and/or malice, entitling Williams to an award of punitive damages in an amount
appropriate to punish or set an example of Netflix in an amount to be determined at
trial.
         149. The meaning conveyed by the false statements will, if published
again, continue to cause Williams great and irreparable damage, and injunctive
relief will be necessary to prevent and restrain continued dissemination of the
statement. She is entitled to an injunction requiring Netflix, its agents and all
persons acting in concert with it to desist from continuing to make the Defamatory
Statements, and to remove them from the Series.

                            DEMAND FOR JURY TRIAL
         Plaintiff Rachel DeLoache Williams hereby demands trial by jury on all

issues triable by a jury.

                              PRAYER FOR RELIEF

         WHEREFORE, Williams prays for relief against Netflix, and each of them,
as follows:
         1.    For actual and presumed damages;
         2.    For punitive damages;
         3.    For temporary, preliminary, and permanent injunctive relief,
restraining and enjoining Netflix, its agents and all persons acting in concert with


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them from continuing to make the Defamatory Statements, and to remove them
from the Series;
      4.    Pre and post judgment interest
      5.    For costs of suit; and
      6.    For such further relief as the Court deems just and proper.


Dated: August 29, 2022                    Respectfully submitted,

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